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                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF PUERTO RICO


IN RE
                                                 CASE NO. 18-01410 MCF
EMILIO TORRES RAMOS
                                                 CHAPTER 7
Debtor

_________________________________

EMILIO TORRES RAMOS
                                                 Adversary Proceeding No. 19-
Plaintiff
                                                 VIOLATION TO DISCHARGE
v.
                                                 INJUNCTION
COOPERATIVA DE AHORRO Y
CREDITO AGUAS BUENAS

Defendant



                                         COMPLAINT

        TO THE HONORABLE COURT:

        COMES NOW, Emilio Torres Ramos, Plaintiff, by and through the undersigned attorney

and very respectfully, ALLEGES, STATES and PRAYS:

                                      INTRODUCTION

        1.    Emilio Torres-Ramos, a resident of Puerto Rico facing economic hardship after the

passage of Hurricane Maria through the island, sought protection from his creditors by filing a

petition for relief under Chapter 7 of the Bankruptcy Code, Bankruptcy Case No. 18-01410. Mr.

Torres-Ramos disclosed all his debts and creditors in the bankruptcy petition, including his debt

with Cooperativa de Ahorro y Crédito de Aguas Buenas (“CAB”).
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         2.        CAB received notification of the bankruptcy petition of Mr. Torres-Ramos, and

participated in the bankruptcy process. CAB’s active participation in the case is recorded in the

docket of the bankruptcy case through the filing of a notice of appearance (docket #12), and Proof

of Claim #3. Moreover, CAB had notice of the Order of Discharge.

         3.        CAB’s debt was discharged in Mr. Torres-Ramos’ bankruptcy. However, after the

Order of Discharge was entered, CAB coerced and harassed Mr. Ramos-Torres by attempting to

collect a pre-petition debt through phone calls and collection letters that falsely represented that

the debt was still owed.

         4.        This action is filed to enforce the Order of Discharge, and to enforce and implement

other Bankruptcy Code provisions related thereto, and to prevent the frustration of the Debtor’s

fresh start. Mr. Torres-Ramos seeks monetary, declaratory and injunctive relief based in violations

to 11 U.S.C. §524.

                                            JURISDICTION AND VENUE

         5.        This Court has jurisdiction to entertain this complaint under 28 U.S.C. §§ 157 and

1334. This is a core proceeding under 28 U.S.C. §157(b)(2).

         6.        This Court also has supplemental jurisdiction to hear all state law claims under 28

U.S.C. §1367.

         7.        Venue is proper in this District under 11 U.S.C. §1391 because all or a substantial

part of the events giving rise to the claims occurred in this District. Venue is also proper under 28

U.S.C. §§1408 and 1409 because this adversary proceeding is brought in under Title 11.

                                                    PARTIES
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         8.        The Plaintiff, Emilio Torres Ramos, is the Debtor in the above caption bankruptcy

case, and a resident of Puerto Rico.

         9.        The Defendant, Cooperativa de Ahorro y Credito Aguas Buenas, is a corporation

organized under the laws of the Commonwealth of Puerto Rico. The Defendants address is PO

Box 5, Aguas Buenas, PR 00703-0005.

         10.       ABC INSURANCE CORPORATION is an insurance company duly authorized

to conduct business in Puerto Rico, which has issued an insurance policy in favor of the Defendant

that covers the claims alleged in this Adversary Proceeding.

                                            FACTUAL BACKGROUND

         11.       On March 16, 2018, Emilio Torres Ramos (hereinafter “Plaintiff” or “Debtor”) filed

a voluntary petition for bankruptcy under Chapter 7 of the Bankruptcy Code, Bankruptcy Case

No. 18-01410 MCF.

         12.       CAB was included as a creditor in the bankruptcy case of the Emilio Torres Ramos.

(See Doc. #1, pp. 23 and 46).

         13.       On May 14, 2019, CAB filed a Notice of Appearance and Claim No. 3 in the

bankruptcy case of Emilio Torres Ramos. (See Doc. #12, and POC #3).

         14.       On July 13, 2018, the Bankruptcy Court granted Emilio Torres Ramos a discharge

of all debts pursuant to 11 U.S.C. §727. (See Doc. #17, Order of Discharge).

         15.       Plaintiff’s personal obligation to CAB was discharged by the Order of Discharge

entered on July 13, 2018.

         16.       CAB had notice of the Order of Discharge.
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         17.       CAB was informed that all actions or proceedings for the collection or enforcements

of any claims against Emilio Torres Ramos after the filing of the bankruptcy petition were

prohibited by law.

         18.       CAB was informed that all actions or proceedings for the collection or enforcement

of any claims against Emilio Torres Ramos after the issuance of the Order of Discharge were

prohibited by law.

         19.       On or around February 15, 2019, CAB sent a collection letter to the Debtor falsely

stating that Debtor still owed $5,517.91, and threatening with the imposition of late charges if

payment was not made by March 6, 2019. (See Exhibit A).

         20.       On or around March 13, 2019, CAB sent a collection letter to the Debtor falsely

stating that Debtor still owed $5,517.91, and threatening with the imposition of late charges if

payment was not made by April 6, 2019. (See Exhibit B).

         21.       On April 10, 2019, the Debtor received a phone call from an individual that

identified himself as Cesar Rivera, Collections Officer of CAB. Mr. Rivera called the Debtor to

collect a debt allegedly owed to CAB in relation to a Master Card credit card. The Debtor

informed Mr. Rivera that he had filed a bankruptcy and such debt was discharged.

         22.       On or around April 11, 2019, CAB sent a collection letter to the Debtor falsely

stating that Debtor still owed $5,517.91, and threatening with the imposition of late charges if

payment was not made by May 6, 2019. (See Exhibit C).

         23.       CAB’s repeated collection efforts were intended to collect a debt that was discharge

in the bankruptcy of the Plaintiff.
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         24.       CAB’s repeated collection efforts improperly coerced and harassed the debtor to

pay a discharged debt.

         25.       CAB’s actions have caused harm to the Debtor. The repeated collection attempts

by CAB have caused anxiety, stress, agitation, emotional damage to the Debtor, who has been

inconvenienced by the actions of CAB and forced to seek legal assistance to protect his rights.

         26.       On information and believe, CAB has failed to implement an effective policy to

assure that its collection personnel comply with the automatic stay, and the discharge injunction.

         27.       The actions of CAB constitute a violation of 11 U.S.C. §524(a).

                                             FIRST CLAIM

           WILLFUL VIOLATION OF DISCHARGE INJUNCTION (11 U.S.C. §524(a))

         28.       Debtor repeats and alleges the paragraphs above as if set forth herein.

         29.       CAB’s repeated attempts to coerce and harass the Debtor into paying a discharged

debt is a violation of the discharge granted by the Bankruptcy Court under 11 U.S.C. §727. CAB’s

actions are unlawful, and constitute a violation of the bankruptcy court orders pursuant to 11 U.S.C.

§524.

         30.       CAB’s conduct has substantially frustrated the Order of Discharge entered by the

Bankruptcy Court, impeded Debtor’s right to continue his life free from the harassment of

collection efforts of discharged debts, caused the Debtor unwarranted, and unnecessary time, effort

and expense in seeking to enforce rights protected by the Bankruptcy Code.

         31.       Because CAB’s actions constitute a gross violation of the Bankruptcy Court Order

of Discharge, the Court should impose actual damages, punitive damages, and legal fees against

the defendant to protect the integrity of the bankruptcy system.
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         32.       Sanctions against CAB are warranted for its misconduct in this case, and to

discourage continuous and future violations.

         33.       As a result of CAB’s violation to 11 U.S.C. §524(a), the defendant is liable to the

Debtor for actual damages, punitive damages and legal fees. 11 U.S.C. §105.

                                            PRAYER FOR RELIEF

         WHEREFORE, Debtor, through his attorney, respectfully requests the following relief:

         A. Enter judgment in Debtor’s favor on all counts.

         B. Enter judgment awarding the Debtor all of the damages he has incurred as a proximate

               result of Defendant’s unlawful collection efforts, estimated in no less than $100,000.00.

         C. Enter judgment awarding the Debtor punitive damages for Defendant’s willful violation

               of the Order of Discharge.

         D. Enter judgment awarding the Debtor all reasonable legal fees and expenses incurred

               in this action.

         E. Enter judgment finding CAB in contempt of court for willful violation of the Order of

               Discharge.

         F. Enter an order to against CAB to Cease and Desist from violations of the discharge

               injunction.

         G. Order any other and further relief as this court deems just and proper.


         Respectfully submitted,

         In San Juan, Puerto Rico, this 19th day of November of 2019.
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                                              By: /s/ANDREW JIMÉNEZ CANCEL
                                                     ANDREW JIMÉNEZ CANCEL
                                                                USDC-PR # 226510
                                                                  P.O. Box 9023654
                                                           San Juan, PR 00902-3654
                                                                 Tel. (787) 638-4778
                                                        ajimenez@ajlawoffices.com

                                                 Attorney for: Emilio Torres Ramos
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
    Emilio Torres Ramos                                                           Cooperativa de Ahorro y Credito Aguas Buenas


ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
  ANDREW JIMENEZ LLC
                                                 Phone: 787-638-4778
  Andrew Jimenez-Cancel, Esq.
  PO BOX 9023652
  San Juan, PR 00902-3654
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□x Debtor   □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □x Creditor   □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)




                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □ 71-Injunctive relief – imposition of stay
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
    31-Approval of sale of property of estate and of a co-owner - §363(h)       □ 72-Injunctive relief – other
□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $ 250,000.00
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                      Emilio Torres Ramos                                              18-01410 MCF
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
                         Puerto Rico                                                                       Mildred Caban Flores
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

 /s/Andrew Jimenez-Cancel



DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
       November 19, 2019                                                     Andrew Jimenez-Cancel




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
